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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA
                           Criminal No. 20-78 (DSD/DTS)

UNITED STATES OF AMERICA,

                    Plaintiff,

       v.                                 NOTICE OF APPEARANCE

JEFFREY LEONARD REWEY,

                    Defendant.


      The following criminal case is being reassigned as follows:

      Add AUSA

      Justin A. Wesley

      Remove AUSA

      Samantha H. Bates

Dated: August 4, 2020                          Respectfully submitted,

                                               ERICA H. MacDONALD
                                               United States Attorney

                                               s/ Justin A. Wesley

                                               BY: JUSTIN A. WESLEY
                                               Assistant U.S. Attorney
                                               Attorney ID No. 0389189
